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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


KIM YANCEY,

                                       Plaintiff,                      16 Civ. 1855 (PAE)
                        -v-
                                                                            ORDER
 LH HOSPITALITY LLC d/b/a JANE and ROCINANTE
 CORP.,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       The Court has received a letter from plaintiff’s counsel regarding approval of attorney’s

fees. Dkt. 66. On March 20, 2019, the Court issued an opinion and order that, inter alia,

required defendants to “pay reasonable attorneys’ fees sustained by Yancey as a result of filing

the motion to enforce” the stipulation. Dkt. 60 at 12. The Court further ordered plaintiff’s

counsel to file a letter documenting its reasonable attorney’s fees. Id. On March 26, 2019,

counsel for Yancey submitted such a letter. Dkt. 61.

       The Court has reviewed the attorney’s fees submitted by plaintiff’s counsel at docket 61

and finds that they are reasonable. Accordingly, defendants are ordered to pay forthwith such

fees and expenses.



       SO ORDERED.


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                                                           PAUL A. ENGELMAYER
                                                           United States District Judge
Dated: November 2, 2020
       New York, New York
